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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-0258V
                                        UNPUBLISHED


    DIVYA PODURI, Natural Parent and                        Chief Special Master Corcoran
    Guardian of Y.T., a Minor,
                                                            Filed: August 11, 2020
                        Petitioner,
    v.                                                      Special Processing Unit (SPU);
                                                            Ruling on Entitlement; Concession;
    SECRETARY OF HEALTH AND                                 Table Injury; Rotavirus Vaccine;
    HUMAN SERVICES,                                         Intussusception

                       Respondent.


Bridget Candace McCullough, Muller Brazil, LLP, Dresher, PA, for petitioner.

Sarah Black Rifkin, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1

        On March 6, 2020, Divya Poduri, natural parent and guardian of Y.T., a minor, filed
a petition for compensation under the National Vaccine Injury Compensation Program,
42 U.S.C. §300aa-10, et seq.2 (the “Vaccine Act”). Petitioner alleges that Y.T. suffered an
intussusception resulting from the rotavirus vaccination received on November 21, 2017.
Petition at 1. The case was assigned to the Special Processing Unit of the Office of
Special Masters.

       On August 7, 2020, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at
1. Specifically, Respondent agrees that “petitioner has satisfied the criteria set forth in the

1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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Vaccine Injury Table (“Table”) and the Qualifications and Aids to Interpretation (“QAI”),
which afford petitioner a presumption of causation if the onset of intussusception occurs
between one and twenty-one days after a rotavirus vaccination and there is no other
apparent alternative cause.” Id. at 5. Respondent therefore “recommends that
compensation be awarded.” Id. at 1.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                  s/Brian H. Corcoran
                                  Brian H. Corcoran
                                  Chief Special Master




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